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                  IN THE UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF ARKANSAS
                          HOT SPRINGS DIVISION


 JULIA CORREIA                                                           PLAINTIFF

 v.                   CASE NO. 6:17CV-6082 PKH

 GLEN JONES                                                          DEFENDANTS

                            NOTICE OF APPEARANCE

       Assistant Attorney General Ka Tina R. Hodge, hereby enters her appearance

 as counsel for Defendant, Glen Jones and requests that all future service and

 correspondence be sent accordingly.

       I hereby certify that I am admitted to practice in this Court and respectfully

 place the Clerk of the Court and all parties of record on notice of my appearance.


                                        Respectfully submitted,

                                        LESLIE RUTLEDGE
                                        Attorney General


                                  By:   /s/ Ka Tina R. Hodge
                                        Ka Tina R. Hodge
                                        Ark Bar No. 2003100
                                        Assistant Attorney General
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                                        Little Rock, AR 72201
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                                        Attorneys for Defendant
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                            CERTIFICATE OF SERVICE

       I, Ka Tina R. Hodge, do hereby certify that on November 2, 2017, I

 electronically filed the foregoing with the Clerk of Court using the CM/ECF filing

 system, which shall send notification of the filing to any participants.

                                                /s/ Ka Tina R. Hodge
                                                Ka Tina R. Hodge




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